       Case 1:24-mj-00303-AJ          Document 1-1      Filed 11/15/24      Page 1 of 22




     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT FOR A BLACK IPHONE
             LOCATED AT 275 CHESTNUT ST, MANCHESTER, NH

       I, Lori Robinson, having been duly sworn, hereby depose and state:

                                   AGENT BACKGROUND

       1.      I am a Special Agent with the Department of Homeland Security, Immigration

and Customs Enforcement, Homeland Security Investigations (“HSI”), and have been so

employed since 2014. I am currently assigned to the Manchester, New Hampshire field office.

As part of my regular duties as an agent, I investigate criminal violations relating to a broad

range of immigration and customs related statutes, including those relating to child

exploitation, child pornography, and human trafficking. I have received training in the area

of child pornography and child exploitation, and as part of my duties have observed and

reviewed numerous examples of child pornography (as defined in 18 U.S.C. §2256) in various

forms of media, including digital/computer media. I have assisted investigations and executed

search warrants involving child exploitation and child pornography offenses, including search

warrants of electronic devices. I have received training relating to the trafficking in persons,

including sex trafficking, and other offenses.

       2.      I have participated in investigations of human trafficking, human smuggling, alien

harboring, border violations, drug and firearm trafficking, and related offenses. Many of these

investigations have had national or international connections, and many required me to work

closely and share information and intelligence with members of other federal, state, and local law

enforcement agencies. I have debriefed defendants, informants, and witnesses who have personal

knowledge about human trafficking, including sex trafficking, and other crimes occurring in New

Hampshire, nationally, and abroad.
       Case 1:24-mj-00303-AJ          Document 1-1         Filed 11/15/24      Page 2 of 22




       3.      From my training and experience, I know that individuals are trafficked for several

purposes. Some of these purposes are subjection into involuntary servitude, peonage, debt

bondage and slavery. Human trafficking is often accomplished through the use of fraud, force and

coercion. I am familiar with the federal and state laws which make it a violation to engage in

human trafficking, such as 18 U.S.C. §§ 1581 through 1595 (Peonage, Slavery and Trafficking in

Persons), and 18 U.S.C. §§ 2421 through 2428 (Transportation for Illegal Sexual Activity and

Related Crimes).

       4.      I submit this affidavit pursuant to Federal Rule of Criminal Procedure 41, in support

of an application for a search warrant authorizing the search of a black iPhone phone seized from

the person of OZEIAS GUILHERME on November 14, 2024, located at HSI Manchester, 275

Chestnut St, Manchester, NH, as more fully described in Attachment A of this affidavit (the

“TARGET DEVICE”).

       5.      Based on the information set forth in this affidavit, there is probable cause to believe

that the TARGET DEVICE contains evidence of, or property intended for use in committing,

violations of Title 18, United States Code, Sections 1591(a) and (b)(1), and 1594 (attempted sex

trafficking of a minor). Moreover, I respectfully submit that there is probable cause to believe that

a search of the TARGET DEVICE, further identified in Attachment A, for the items and

information more particularly described in Attachment B, will yield evidence of the

aforementioned violations.

       6.      This affidavit is based on my personal investigation and investigation by others,

including federal and local law enforcement officials whom I know to be reliable and trustworthy.

The facts contained herein have been obtained by interviewing witnesses and examining

documents obtained in the course of the investigation as well as through other means. This

                                                  2
       Case 1:24-mj-00303-AJ            Document 1-1         Filed 11/15/24       Page 3 of 22




affidavit does not include every fact known to me about this investigation, but rather only those

facts sufficient to establish probable cause.

                                   FACTUAL BACKGROUND

       7.      Beginning on or about November 13, 2024, law enforcement posted an

advertisement (the “Advertisement”) on a website commonly used to advertise prostitution

services that contained images of what appeared to depict two young females and the following

language:

               “Sweet & tight! Ready 2 have some fun!”
               “In town 4 a limited time only”
               “Cute & very petite girl that is tight from head to toe! Cum over to play with
       me!”
               “Text for donations. Incall only – safe and discrete location.”

       8.      The Advertisement listed the age as 99 years old 1 and contained a contact phone

number (the “Advertisement Number”) that was monitored by law enforcement and operated by

an undercover officer (“UC1”).

       9.      On or about November 14, 2024, the Advertisement Number received a text

message from a phone number ending in -5484, now known to belong to OZEIAS GUILHERME

(“GUILHERME”), in response to the Advertisement. Thereafter, a text conversation between

UC1 and GUILHERME ensued. UC1 stated that they had two minor girls—ages 12 years old and

14 years old—available for various sex acts in exchange for money. GUILHERME agreed to pay

$100 to have sex with the 12-year-old girl:

       GUILHERME                    Hello
       UC1                          Heu
       GUILHERME                    Are you available now?



1
 The website utilized by law enforcement requires users to be at least 18 years old to utilize the
website’s services.


                                                     3
          Case 1:24-mj-00303-AJ         Document 1-1              Filed 11/15/24             Page 4 of 22



         UC1                        i gota couple of girls. depends o if u want 1 or both. Izzy is 12 yo and
                                    Liala is 14yo. Both fun and play well together
         GUILHERME                  Wya?
         GUILHERME                                                                                             1
         UC1                        we in manchester tonight and tomorrow. where U? u around?
         GUILHERME                  Yes
                                    How much?
         UC1                        for how long. Full sex. Anal and bare back are extra. but thats only my
                                    14yo. Who u want?
         GUILHERME                  Hh
         GUILHERME                  Would you mind sending me a picture of both
                                    So i can pick one,please
         UC1                        Izzy is 12 yo and lil tighter and flatter than her sis but loveable [picture
                                    sent] 2
         UC1                        Laila is 14yo and has more experince and willing to do anal for extra $50
                                    [picture sent]
         UC1                        half hr with one is $150 and then if u want extras. CASH only
         GUILHERME                  Okay
                                    Address
         UC1                        how far are u from manchester?
         UC1                        which girl so i know if she available. they in an appt right now.
         GUILHERME                  Manchester nh or mass?
         UC1                        Nh
         GUILHERME                  30 min maybe
         UC1                        that not bad. Queen city area?
         UC1                        which girl u thinking?
         GUILHERME                  Address
         GUILHERME                  Izzy maybe
         UC1                        ok well can u be sure so i make sure i dont set her up for nuther appt
         GUILHERME                  I'm sure
         UC1                        ok cool. can u go to Queensbridge area and let me know when u there.
                                    just so we safe and not haveing our customers running in to each other
                                    and drawing attention
         GUILHERME                  Just to make sure
                                    Send me a picture with 2 fingers up
                                    There's a lot of fake people out there
         UC1                        hope this is ok she getting ready while her sis finishes up [picture sent]
         GUILHERME                  Are you affiliated with any type of law enforcement or police?
         UC1                        no. are u? u gotta tell me
         GUILHERME                  Also can you send me the address for queensbridge
         GUILHERME                  No
                                    Im not
         UC1                        cool. we just trying to make a living
         GUILHERME                  I asked you a izzy picture and you send me laila picture
         GUILHERME                  Send me the address
         UC1                        u understand we trying to be safe i hope. can u like chill at the cvs near
                                    us at 432 s main manchested


2
    Photographs sent did not depict actual minors.

                                                       4
Case 1:24-mj-00303-AJ       Document 1-1             Filed 11/15/24            Page 5 of 22



UC1                     oh sorry bout pic this is izzy [picture sent]
GUILHERME               2 fingers up
UC1                     oh shit. sorry. she was working. hold on
UC1                     hope this works. last one i am sending [picture sent]
GUILHERME               Yes
GUILHERME               I will let you know when I'm close
GUILHERME               Is she clean and on birth control?
UC1                     yes and yes. you ddf?
UC1                     k thanks for understanding cuz like we trying be cool and safe
GUILHERME               Sure
GUILHERME               And who are you?men or girl?
GUILHERME               Is that okay if we do it without of condon?i hate condon
                        Also would do it for 100 for 15 mins please?
UC1                     i am momma so i a chick for sure
UC1                     bare with izzy is extra $50 and thats fine. 30 mins with her and extra is
                        $225 cash. is that cool
GUILHERME               I only have 100
                        Can you do this once please?promise that i will be quickly
UC1                     if u go to cvs and show me with pic u legit there i would do 20 mins bare
                        for u cuz u been cool with us. we just dont want any trouble
UC1                     if you are in let me know when u leave
GUILHERME               Just getting a gas and be on the way
GUILHERME               Do you play too?
UC1                     just a manager these days sweetie but no i dont.
GUILHERME               So will be a car date right?
UC1                     sweetie we have a nice room but i would meet ya outside so we both cool
                        with each other. i give u key and u go up and when u done u pay on way
                        out
GUILHERME               I get scared on that
                        We should do car fan on the first meet
GUILHERME               Because one of my friends got caught
UC1                     Well how about this. i come down for a smoke. we talk and if i dont think
                        u bat shit crazy i have my girl come down and do car date. but like car
                        stays off so u dont drive away with her
UC1                     i get that. again. not trying to draw attention or get caught by cops
GUILHERME               I know but i have tinted windows
                        I'm cool
                        You trying make it for living and I want to have fun
GUILHERME               Thats all
UC1                     i am cool with car date long as we talk first, then i have her come down
                        and the car stays turned off and i right outside it smoking.
UC1                     thats how it gotta be cuz i dont wanna be freaked out by you
UC1                     i am already doing u a deal so u gotta work with me some
GUILHERME               Okay
UC1                     let me know when u send pic of cvs . thanx
GUILHERME               Okay
UC1                     we we are on? I have her get ready?
GUILHERME               Yes
                        On my way
UC1                     Cool

                                          5
       Case 1:24-mj-00303-AJ           Document 1-1             Filed 11/15/24          Page 6 of 22



       GUILHERME                   What is she going to be wearing for me?
       UC1                         if she gotta walk out. Prob some shorts and a tank. she cant be drawing
                                   attention in her undies lol
       GUILHERME                   Okay
       GUILHERME                   Are you there?
       UC1                         yeah. u at cvs?
       GUILHERME                   Yes [picture depicting CVS sent]
       GUILHERME                   Where do i go now?
       UC1                         ok u r cool dude legit
       GUILHERME                   I am
       GUILHERME                   Are you?
       UC1                         i think so lol
       GUILHERME                   ?
       UC1                         hold second looking up address lol. not from here
       GUILHERME                   Hotel?

       10.     UC1 then provided GUILHERME the address of a hotel in Manchester, NH

(“Hotel”) as the location of the date with the 12-year-old girl.

       11.     At the hotel, there was another undercover agent (“UC2”), who was posing as the

person who posted the Advertisement and the user of the Advertisement Number. Shortly

thereafter, a White Toyota Camry pulled into the back area of the Hotel parking lot, turned around

and exited the lot. Moments later, the White Toyota Camry returned to the Hotel parking lot. The

White Toyota Camry was driven by GUILHERME who parked his vehicle in the back area

parking lot of the Hotel. After UC2 approached the vehicle, Guilherme rolled down his

window and had a conversation with UC2. Guilherme confirmed that he wanted “bare” and

was not into anything “rough.” In response to a question about age, UC2 said “she’s 12.” He also

showed UC2 cash.

       12.     Law enforcement then arrested GUILHERME in his vehicle and took him into

custody. GUILHERME’s phone was in the vehicle on the driver’s seat. Law enforcement officers

called the number that UC1 had been using to communicate with GUILHERME twice and did not

hear the TARGET DEVICE ring. Officers seized the TARGET DEVICE.

       13.     During a search of the vehicle, Officers located a handgun in the passenger’s side

seat pocket. They did not locate any other cell phones in the vehicle.

                                                     6
       Case 1:24-mj-00303-AJ          Document 1-1       Filed 11/15/24       Page 7 of 22




       14.     Because GUILHERME communicated with UC1 via text message, and because

GUILHERME had this phone in his possession at the time of his arrest, there is probable cause to

believe that the TARGET DEVICE contains his conversations with UC1 regarding his agreement

to engage in commercial sex with a minor and may contain other evidence of this or related

offenses.

                     CHARACTERISTICS OF INDIVIDUALS WITH A
                         SEXUAL INTEREST IN CHILDREN

       15.     Based on my training and experience, I am aware that individuals who have a sexual

interest in children often use cell phones to communicate with multiple minors or adult

intermediaries for sexual purposes. I am also aware that said individuals may have multiple cell

phones to communicate with minors or other individuals about engaging in sexual activity with

minors to avoid detection by others, including law enforcement. I am aware that individuals often

use websites including but not limited to skipthegames, onlyfans, megapersonals, onebackpage,

and adultsearch to engage in prostitution and/or sex trafficking of minors.

       16.     Furthermore, I know, from my training and experience, individuals with a sexual

interest in children tend to use their mobile devices to access websites advertising commercial sex,

such as the website on which the Advertisement was posted.

       17.     Additionally, I know, from my training and experience, that individuals with a

sexual interest in children tend to view and maintain child pornography on their electronic devices.

As a result, law enforcement is generally able to recover media files of child pornography from

electronic devices, and may be able to recover evidence of such files even if the files have been

deleted.

       18.     These individuals may also have images of minors that do not rise to the level of

child pornography, but which nonetheless provide insight and corroboration into their deviant
                                                 7
       Case 1:24-mj-00303-AJ           Document 1-1      Filed 11/15/24      Page 8 of 22




sexual fantasies involving minors. For instance, offenders have been known to take and maintain

photographs and video recordings of fully clothed minors, not just in sexually provocative poses,

but in public places and elsewhere (such as beaches, parks, and so forth), to collect, review, and

fulfill their sexual fantasies.    This sort of material, although not overtly sexual, further

demonstrates that the defendant has a sexual interest in minors.

       19.      Obtaining information for 30 days prior to the arrest will help combat any defense

that GUILHERME traveled to the hotel in Manchester, NH, as part of some type of routine or

schedule or that he did so in an attempt to rescue or otherwise assist the purported youth.



                             Investigators’ Possession of the Target Equipment

       19.      After taking possession of the TARGET DEVICE investigators placed the

TARGET DEVICE in airplane mode. The TARGET DEVICE is currently being stored by

investigators at 275 Chestnut St, Manchester, NH. From my training and experience and the

training and experience of law enforcement personnel who routinely handle this equipment, I

understand that it has been stored in a manner in which its contents are, to the extent material to

this investigation, in substantially the same state as they were when it first came into the

investigators’ possession.

                                      TECHNICAL TERMS

       20.      Based on my training and experience, I use the following technical terms to

convey the following meanings:


             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals. These telephones send signals through networks of

                                                 8
Case 1:24-mj-00303-AJ          Document 1-1    Filed 11/15/24      Page 9 of 22




     transmitter/receivers, enabling communication with other wireless telephones or

     traditional “land line” telephones. A wireless telephone usually contains a “call

     log,” which records the telephone number, date, and time of calls made to and

     from the phone. In addition to enabling voice communications, wireless

     telephones offer a broad range of capabilities. These capabilities include: storing

     names and phone numbers in electronic “address books;” sending, receiving, and

     storing text messages and e-mail; taking, sending, receiving, and storing still

     photographs and moving video; storing and playing back audio files; storing

     dates, appointments, and other information on personal calendars; and accessing

     and downloading information from the Internet. Wireless telephones may also

     include global positioning system (“GPS”) technology for determining the

     location of the device.


  b. Digital camera: A digital camera is a camera that records pictures as digital

     picture files, rather than by using photographic film. Digital cameras use a

     variety of fixed and removable storage media to store their recorded images.

     Images can usually be retrieved by connecting the camera to a computer or by

     connecting the removable storage medium to a separate reader. Removable

     storage media include various types of flash memory cards or miniature hard

     drives. Most digital cameras also include a screen for viewing the stored images.

     This storage media can contain any digital data, including data unrelated to

     photographs or videos.


  c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

     handheld digital storage device designed primarily to store and play audio, video,
                                      9
Case 1:24-mj-00303-AJ       Document 1-1         Filed 11/15/24   Page 10 of 22




      or photographic files. However, a portable media player can also store other

      digital data. Some portable media players can use removable storage media.

      Removable storage media include various types of flash memory cards or

      miniature hard drives. This removable storage media can also store any digital

      data. Depending on the model, a portable media player may have the ability to

      store very large amounts of electronic data and may offer additional features such

      as a calendar, contact list, clock, or games.


   d. GPS: A GPS navigation device uses the Global Positioning System to display its

      current location. It often contains records the locations where it has been. Some

      GPS navigation devices can give a user driving or walking directions to another

      location. These devices can contain records of the addresses or locations involved

      in such navigation. The Global Positioning System (generally abbreviated

      “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

      contains an extremely accurate clock. Each satellite repeatedly transmits by radio

      a mathematical representation of the current time, combined with a special

      sequence of numbers. These signals are sent by radio, using specifications that

      are publicly available. A GPS antenna on Earth can receive those signals. When

      a GPS antenna receives signals from at least four satellites, a computer connected

      to that antenna can mathematically calculate the antenna’s latitude, longitude, and

      sometimes altitude with a high level of precision.


   e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

      for storing data (such as names, addresses, appointments or notes) and utilizing

      computer programs. Some PDAs also function as wireless communication
                                 10
Case 1:24-mj-00303-AJ       Document 1-1       Filed 11/15/24      Page 11 of 22




      devices and are used to access the Internet and send and receive e-mail. PDAs

      usually include a memory card or other removable storage media for storing data

      and a keyboard and/or touch screen for entering data. Removable storage media

      include various types of flash memory cards or miniature hard drives. This

      removable storage media can store any digital data. Most PDAs run computer

      software, giving them many of the same capabilities as personal computers. For

      example, PDA users can work with word-processing documents, spreadsheets,

      and presentations. PDAs may also include global positioning system (“GPS”)

      technology for determining the location of the device.


   f. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

      numeric address used by computers on the Internet. An IP address is a series of

      four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

      Every computer attached to the Internet computer must be assigned an IP address

      so that Internet traffic sent from and directed to that computer may be directed

      properly from its source to its destination. Most Internet service providers control

      a range of IP addresses. Some computers have static—that is, long-term—IP

      addresses, while other computers have dynamic—that is, frequently changed—IP

      addresses.


   g. Internet: The Internet is a global network of computers and other electronic

      devices that communicate with each other. Due to the structure of the Internet,

      connections between devices on the Internet often cross state and international

      borders, even when the devices communicating with each other are in the same

      state.
                                       11
       Case 1:24-mj-00303-AJ          Document 1-1        Filed 11/15/24      Page 12 of 22




       21.      Based on my training, experience, and research, I know that the Target Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media player,

GPS navigation device, and PDA.” In my training and experience, examining data stored on

devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the device.


                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       22.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensics tools.


       23.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Target Device was used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence might be on the Target Device because:


             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).


             b. Forensic evidence on a device can also indicate who has used or controlled the

                device. This “user attribution” evidence is analogous to the search for “indicia of

                occupancy” while executing a search warrant at a residence.



                                                 12
      Case 1:24-mj-00303-AJ           Document 1-1        Filed 11/15/24      Page 13 of 22




             c. A person with appropriate familiarity with how an electronic device works may,

                after examining this forensic evidence in its proper context, be able to draw

                conclusions about how electronic devices were used, the purpose of their use, who

                used them, and when.


             d. The process of identifying the exact electronically stored information on a storage

                medium that is necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review

                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.


             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is

                not present on a storage medium.


       24.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the Target Device

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant.



                                                 13
       Case 1:24-mj-00303-AJ         Document 1-1        Filed 11/15/24        Page 14 of 22




       25.     Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any time in the day or night.


       26.     From my training, experience, and information provided to me by other agents, I

am aware that individuals frequently use mobile phones to carry out, communicate about, and

store records regarding their daily activities. These tasks are frequently accomplished through

sending and receiving e-mail, instant messages, and other forms of phone or internet-based

messages; scheduling activities; keeping a calendar of activities; arranging travel; purchasing

items; searching for information including information regarding travel and activities; arranging

for travel, accessing personal accounts including banking information; paying for items; and

creating and storing images and videos of their movements and activities.


       27.     I know, based on my training and experience, that individuals who peruse

websites like the one where I posted the Advertisement often do so regularly. Familiarity with

abbreviations and terms like “qv” can indicate that a person has experience with prostitutes,

whether adult or child, in the past. I also know that evidence of engaging in prostitution on past

occasions or evidence of a prior sexual interest in children can indicate an individual’s intent on

the date of the instant offense.


       28.     From my training, experience, and information provided to me by other agents, I

am aware that individuals commonly store records of the type described in Attachments B in

mobile phones, computer hardware, computer software, and storage media.



                                                 14
       Case 1:24-mj-00303-AJ          Document 1-1        Filed 11/15/24      Page 15 of 22




       29.     The warrant I am applying for would permit law enforcement to obtain from

GUILHERME the display of physical biometric characteristics (such as fingerprint, thumbprint,

or facial characteristics) in order to unlock devices subject to search and seizure pursuant to this

warrant. I seek this authority based on the following:


               a. I know from my training and experience, as well as from information found in

                   publicly available materials published by device manufacturers, that many

                   electronic devices, particularly newer mobile devices like iPhones, offer their

                   users the ability to unlock the device through biometric features in lieu of a

                   numeric or alphanumeric passcode or password. These biometric features

                   include fingerprint scanners and facial recognition features. Some devices

                   offer a combination of these biometric features, and the user of such devices

                   can select which features they would like to utilize.

               b. If a device is equipped with a fingerprint scanner, a user may enable the

                   ability to unlock the device through his or her fingerprints. For example,

                   Apple offers a feature called “Touch ID,” which allows a user to register up to

                   five fingerprints that can unlock a device. Once a fingerprint is registered, a

                   user can unlock the device by pressing the relevant finger to the device’s

                   Touch ID sensor, which is found in the round button (often referred to as the

                   “home” button) located at the bottom center of the front of the device. The

                   fingerprint sensors found on devices produced by other manufacturers have

                   different names but operate similarly to Touch ID.

               c. If a device is equipped with a facial recognition feature, a user may enable the

                   ability to unlock the device through his or her face. For example, Apple offers

                                                 15
Case 1:24-mj-00303-AJ      Document 1-1        Filed 11/15/24      Page 16 of 22




         a facial recognition feature called “Face ID.” During the Face ID registration

         process, the user holds the device in front of his or her face. The device’s

         camera then analyzes and records data based on the user’s facial

         characteristics. The device can then be unlocked if the camera detects a face

         with characteristics that match those of the registered face. Facial recognition

         features found on devices produced by other manufacturers have different

         names but operate similarly to Face ID.

      d. In my training and experience, users of electronic devices often enable the

         aforementioned biometric features because they are considered to be a more

         convenient way to unlock a device than by entering a numeric or

         alphanumeric passcode or password. Moreover, in some instances, biometric

         features are considered to be a more secure way to protect a device’s contents.

         This is particularly true when the users of a device are engaged in criminal

         activities and thus have a heightened concern about securing the contents of a

         device.

      e. The passcode or password that would unlock the device(s) subject to search

         under this warrant is not known to law enforcement. Thus, law enforcement

         personnel may not otherwise be able to access the data contained within the

         device(s), making the use of biometric features necessary to the execution of

         the search authorized by this warrant.

      f. I also know from my training and experience, as well as from information

         found in publicly available materials including those published by device

         manufacturers, that biometric features will not unlock a device in some

                                      16
Case 1:24-mj-00303-AJ       Document 1-1       Filed 11/15/24      Page 17 of 22




         circumstances even if such features are enabled. This can occur when a device

         has been restarted, inactive, or has not been unlocked for a certain period of

         time. For example, Apple devices cannot be unlocked using Touch ID when

         (1) more than 48 hours has elapsed since the device was last unlocked or (2)

         when the device has not been unlocked using a fingerprint for 4 hours and the

         passcode or password has not been entered in the last 156 hours. Biometric

         features from other brands carry similar restrictions. Thus, in the event law

         enforcement personnel encounter a locked device equipped with biometric

         features, the opportunity to unlock the device through a biometric feature may

         exist for only a short time.

      g. In The warrant I am applying for would permit law enforcement personnel to

         (1) press or swipe the fingers (including thumbs) of GUILHERME, to the

         fingerprint scanner of the device; (2) hold the device in front of the face of

         GUILHERME and activate the facial recognition feature, for the purpose of

         attempting to unlock the device in order to search its contents as authorized by

         this warrant.




             [THIS SPACE INTENTIONALLY LEFT BLANK]




                                        17
      Case 1:24-mj-00303-AJ          Document 1-1           Filed 11/15/24   Page 18 of 22




                                         CONCLUSION

       30.     Based on the information provided above, I respectfully submit that there is

probable cause to obtain a search warrant for the TARGET DEVICE, as more fully described in

Attachment A, to seek the items described in Attachment B. Because the TARGET DEVICE is

already in law enforcement’s possession and the execution of this warrant does not involve the

physical intrusion onto a premises, I submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.



                                                               /s/ Lori Robinson_______________
                                                               Lori Robinson, Special Agent
                                                               Homeland Security Investigations


Attested to by the applicant in accordance
with the requirements of Fed. R. Crim. P. 4.1 by
telephone, on this 15th day of November, 2024.



_______________________________________
HONORABLE ANDREA K. JOHNSTONE
UNITED STATES MAGISTRATE JUDGE




                                                18
      Case 1:24-mj-00303-AJ         Document 1-1        Filed 11/15/24     Page 19 of 22




                                     ATTACHMENT A
                                  Equipment To Be Searched

       The equipment to be searched is a black iPhone, seized from Ozeias GUILHERME on

November 14, 2024 (the “Target Device”). The equipment is currently located at the HSI Office

at 275 Chestnut St., Manchester, NH. This warrant authorizes the forensic examination of the

equipment for the purpose of identifying the electronically stored information described in

Attachment B.




                                               19
      Case 1:24-mj-00303-AJ           Document 1-1        Filed 11/15/24     Page 20 of 22




                                        ATTACHMENT B
                                        Items to Be Seized

I.     All records, in whatever form, that constitute evidence, fruits, or instrumentalities of 18

U.S.C. §§ 1591(a)(1) & (b)(1) and 1594(c) and involve Ozeias GUILHERME for the period from

October 14, 2024 - present, including those related to:

       A.      Any correspondence with the Advertisement Number (as defined in the affidavit);

       B.      Any and all notes, documents, records, or correspondence, in any format and

               medium (including, but not limited to, e-mail messages, chat logs, electronic

               messages, or other digital data files) pertaining to the sex trafficking of children,

               attempt to engage in sex trafficking of children, commercial sex, prostitution, and

               a sexual interest in children;

       C.      Any web or browser history including but not limited to skipthegames, onlyfans,

               megapersonals, onebackpage, and adultsearch or any other site advertising escorts,

               commercial sex, prostitution, or the sex trafficking of children;

       D.      The payment, receipt, transfer, or storage of money or other things of value by

               GUILHERME, pertaining to the sex trafficking of children, attempt to engage in

               sex trafficking of children, commercial sex, prostitution, and a sexual interest in

               children;

       E.      The travel or whereabouts of GUILHERME on November 14, 2024;

       F.      For the Target Device:

                      1.      evidence of who used, owned, or controlled the Target Device;

                      2.      evidence of the presence or absence of malicious software that

                              would allow others to control the items, and evidence of the



                                                20
      Case 1:24-mj-00303-AJ          Document 1-1       Filed 11/15/24      Page 21 of 22




                              presence or absence of security software designed to detect

                              malicious software;

                      3.      evidence of the attachment of other computer hardware or storage

                              media;

                      4.      evidence of counter-forensic programs and associated data that are

                              designed to eliminate data;

                      5.      evidence of when the computer equipment was used;

                      6.      passwords, encryption keys, and other access devices that may be

                              necessary to access the computer equipment;

                      7.      records and tangible objects pertaining to accounts held with

                              companies providing Internet access or remote storage; and

       II.     Serial numbers and any electronic identifiers that serve to identify the Target

Device.

       III.    During the execution of the search of the Target Device described in Attachment

A, law enforcement personnel are authorized to (1) press or swipe GUILHERME’s fingers

(including thumbs) to the fingerprint scanner of the Target Device; (2) hold the Target Device in

front of GUILHERME’s face and activate the facial recognition feature, for the purpose of

attempting to unlock the Target Device in order to search the contents as authorized by this

warrant.

                                          DEFINITIONS

       For the purpose of this warrant:

               A.     “Computer equipment” means any computer hardware, computer

                      software, mobile phone, storage media, and data.

                                                21
Case 1:24-mj-00303-AJ     Document 1-1         Filed 11/15/24     Page 22 of 22




      B.    “Computer hardware” means any electronic device capable of data

            processing (such as a computer, smartphone, cell/mobile phone, or

            wireless communication device); any peripheral input/output device (such

            as a keyboard, printer, scanner, monitor, and drive intended for removable

            storage media); any related communication device (such as a router,

            wireless card, modem, cable, and any connections), and any security

            device, (such as electronic data security hardware and physical locks and

            keys).

      C.    “Computer software” means any program, program code, information or

            data stored in any form (such as an operating system, application, utility,

            communication and data security software; a log, history or backup file; an

            encryption code; a user name; or a password), whether stored deliberately,

            inadvertently, or automatically.

      D.    “Storage media” means any media capable of collecting, storing,

            retrieving, or transmitting data (such as a hard drive, CD, DVD, or

            memory card).

      E.    “Data” means all information stored on storage media of any form in any

            storage format and for any purpose.

      F.    “A record” is any communication, representation, information or data. A

            “record” may be comprised of letters, numbers, pictures, sounds or

            symbols.




                                     22
